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                         IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF UTAH

IN THE MATTER OF THE SEARCH OF A
WHITE IPHONE WITH A CLEAR CASE
LOCATED IN AN EVIDENCE LOCKER IN
WEST VALLEY CITY, UTAH, AS MORE                             2:24-mj-00751 DBP
                                                   Case No. ____________________
PARTICULARLY DESCRIBED IN
ATTACHMENT A



                            AFFIDAVIT IN SUPPORT OF AN
                          APPLICATION UNDER RULE 41 FOR A
                           WARRANT TO SEARCH AND SEIZE


       I, Christopher Snow, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application under Rule 41 of the Federal

Rules of Criminal Procedure for a search warrant authorizing the examination of property—an

electronic device—which is currently in law enforcement possession, and the extraction from

that property of electronically stored information described in Attachment B.

       2.      I am a Criminal Investigator with Homeland Security Investigations (“HSI”). I

have been employed by HSI since July 2004. Prior to HSI, I was with the United State Secret

Service (USSS) as a Special Agent investigating U.S. currency counterfeiting, identity theft and

bank fraud. In 1995, I graduated from the Utah Peace Office Standards and Training (UPOST)

and started as a police officer with the Murray, Utah Police Department. As a police

officer/detective, I was assigned to the Fraud and Forgery Unit that was responsible for

investigating felony financial crimes in Murray, Utah, under the authority of the Utah State

Criminal Code. I am currently assigned to the HSI Salt Lake City, Utah office where I

investigate violations of federal law, specifically customs and financial violations. I received a
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Bachelor of Science in from the University of Utah in 1997. In 2001, I graduated from six

months of training at the Federal Law Enforcement Training Center (FLETC) in Glynco,

Georgia. As an HSI Criminal Investigator, I am an “investigative or law enforcement officer”

within the meaning of Title 18, United States Code, Section 2510(7), that is, an officer of the

United States who is empowered by law to conduct investigations and to make arrests for

offenses enumerated in Title 21 and Title 18 of the United States Code. In my work with HSI

and from my previous experience, I have received training and conducted investigations that

involve various offenses to include fraud, theft, drug trafficking, and money laundering. I have

received courses of instruction relating to investigative techniques and financial investigations.

In addition, I have conducted follow-up investigations concerning the concealment of illegal

proceeds, assets, bank records, etc., and the identification of co-conspirators through the use of

ledgers, records, telephone bills, and photographs, as related to financial crimes and drug

trafficking. I have authored multiple state and federal search warrants to include pen register,

trap and trace device affidavits. I have also assisted, conducted, and led multiple bank fraud

investigations involving multiple subjects, across state lines, resulting in federal charges and

convictions.

       3.      Among other duties, I am leading HSI’s federal investigation into the Matthew

ACQUAH bank fraud ring (“BFR”) that is alleged to be involved in the use of counterfeit

identification documents to fraudulently open bank accounts and obtain cash advances on lines




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of credit under the names of unwitting victims.1 This BFR is documented as operating in Utah,

Nevada, Idaho, California, and elsewhere.

        4.       The following is based on conversations with HSI Salt Lake City (“SLC”) case

agents, and oral and written reports provided by the SLC Office. Since this affidavit is being

submitted for a limited purpose, I have not included every fact I know about this investigation. I

set forth only facts necessary to establish the foundation for the requested Order.

        5.       Based on the facts set forth in this affidavit, I respectfully submit that there is

probable cause to believe violations of federal law have been committed by ACQUAH, Jordan

BATTLE, Jamari CHAPMAN, Emas HAMA, Lucky HATHAWAY, and others known and

yet unknown, including: 18 U.S.C. §§ 1344, 1349, Bank Fraud and Conspiracy to Commit Bank

Fraud; and 18 U.S.C. § 1028A, Aggravated Identity Fraud (hereinafter referred to as the

“TARGET OFFENSES”). There is also probable cause to search the Device, further described

below and in Attachment A, for the things described in Attachment B.

                   IDENTIFICATION OF THE DEVICE TO BE EXAMINED

        6.       The item to be searched is a white iPhone with a clear case, which was seized

from BATTLE on or about July 16, 2024, hereinafter the “Device.” The Device is currently in

HSI’s possession at 2975 S. Decker Lake Drive, West Valley City, Utah, 84119.

        7.       The applied-for warrant would authorize the forensic examination of the Device

for the purpose of identifying electronically stored data particularly described in Attachment B.




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  I recently took over the lead investigative role from Special Agent Zackary Rhinehart, who transitioned to an out-
of-country assignment in July 2024. I am conducting this investigation alongside Detective Braydon Hamatake with
the Taylorsville Police Department.

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                                     PROBABLE CAUSE

       8.      In March 2024, the Taylorsville Police Department notified HSI-SLC of a bank

fraud ring operating in multiple states, including Utah. Reports indicated that various individuals

were opening bank accounts with stolen identities to obtain lines of credit at Utah-based credit

unions, and then drawing thousands of dollars on those unauthorized lines of credit.           The

perpetrators were observed by tellers and video surveillance using cell phones during the

unauthorized transactions. A preliminary investigation identified actual losses for Utah banks in

an amount exceeding $450,000, with more losses attributed to affiliated BFRs.

       9.      In March 2024, HSI and the Taylorsville Police Department interviewed a

cooperating defendant (“CD”) who was in custody in the SLC area for state fraud-related

charges.    During the interview, the CD waived his/her rights and agreed to speak with

investigators. The CD explained that he/she was recruited by a subject the CD knew as “Matt”

or “Playboy Prince,” which is ACQUAH’s Instagram handle. The CD explained that he/she was

provided multiple stolen identities by ACQUAH who instructed him/her on how to fraudulently

open a line of credit and cash advance using the stolen identities, generally through text message

or encrypted messaging applications. The CD admitted conducting several successful fraudulent

transactions in and around the SLC area, all while maintaining contact with ACQUAH or other

handlers through text message or encrypted messaging applications. Investigators confirmed

through banking documents and surveillance photos that the CD did as stated, successfully

obtaining over $70,000 in cash from Utah credit unions using the stolen identities. The CD

further identified HAMA and HATHAWAY as ACQUAH’s co-conspirators and explained that

they acted as drivers and handlers during a fraud spree in the SLC area in January 2024.



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       10.     Investigators obtained a search warrant for ACQUAH’s iCloud account which

showed ACQUAH was heavily involved in fraud and further corroborated the CD’s account. He

had hundreds (estimated) of photos reflecting third parties’ personal identifying information

(“PII”), bank account information, and pictures of numerous counterfeit U.S. passport cards,

drivers’ licenses, and various other fraudulent identification documents.

       11.     From the iCloud data, investigators learned that ACQUAH communicated with

HATHAWAY using text messages and encrypted messaging applications. HATHAWAY was

identified based on the phone subscriber information for his phone number, as well as the

transmission of photographs containing his likeness. Text messages extracted from ACQUAH’s

iCloud included conversations between ACQUAH and HATHAWAY coordinating the January

2024 fraud spree and negotiating compensation for HAMA’s role during the same fraud spree.

ACQUAH’s iCloud account also contained photographs of HATHAWAY posing with large

stacks of U.S. currency at the same time the January 2024 fraud spree was underway.

       12.     ACQUAH’s iCloud data and the CD’s phone also contained group text messages

and encrypted messages between ACQUAH, HATHAWAY, HAMA, and others, coordinating

fraud activities and the logistics for their January 2024 fraud spree.

       13.     Additionally, ACQUAH’s iCloud account contained communications with

fraudulent identification documents for BATTLE and CHAPMAN. In BATTLE’s case, text

messages show efforts by ACQUAH, HATHAWAY, and BATTLE to arrange future fraud

sprees in Utah using BATTLE’s girlfriend to conduct the unauthorized transactions.

Specifically, ACQUAH, HATHAWAY, and BATTLE used text messages to discuss money

transfers, relay victim information, and facilitate travel for fraud sprees. BATTLE was identified

based on the phone subscriber information for his phone number. Based on the foregoing, law

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enforcement officers tracked BATTLE’s girlfriend’s vehicle, a Silver Chevy with California

Plate No. 8UEJ933, which was driven to Utah. Surveillance of the vehicle confirmed it was

driven by BATTLE during this trip, which coincided with a known fraud spree perpetrated by

BATTLE’s girlfriend. During a second fraud spree in May 2024, BATTLE made a hotel

reservation in the SLC area (using his real name) and was captured on the hotel’s surveillance

system with the perpetrator of numerous unauthorized transactions during the same week.

Further, call records from BATTLE’s phone number show extensive communications with other

known co-conspirators during fraud sprees/attempts by the ACQUAH BFR in mid-2024. Given

the CD’s explanation of the fraud scheme, which relies on constant communication between the

perpetrator and handler, it is believed BATTLE used a cell phone to communicate with co-

conspirators during their unauthorized transactions.

       14.     ACQUAH’s iCloud account further contained PII for individuals later victimized

by CHAPMAN, as well as fraudulent identification documents for these victims which bore

photographs of CHAPMAN’s likeness.          Based on the foregoing, law enforcement officers

tracked CHAPMAN’s vehicle, which was observed driving to meetings with known co-

conspirators during fraud sprees/attempts by the ACQUAH BFR in mid-2024.                 Video

surveillance from credit unions show CHAPMAN using fraudulent identification documents to

make unauthorized transactions, while often referencing his cell phone, which is consistent with

the CD’s description of the fraud scheme.

       15.     Investigators have identified over 20 subjects that are part of the ACQUAH BFR.

Investigators have bank documents that show the fraud has continued and even increased after

the arrest of the CD in January 2024. Investigators have bank documents and information from



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the iCloud warrant that show the ACQUAH BFR attempted the bank fraud in Utah as recently as

May 8, 2024.

       16.     On June 5, 2024, ACQUAH, BATTLE, CHAPMAN, HAMA, and HATHAWAY

were indicted by a federal grand jury in the District of Utah for the TARGET OFFENSES in

case number 2:24-cr-00190-RJS. Arrest warrants were issued for their arrest.

       17.     Based on my training and experience, and information acquired from other law

enforcement officials with technical expertise, I know that the Device is capable of and

frequently used to communicate with other individuals, take and store photographs and videos,

and used for internet searches, among other things. Examining data stored on Device of this type

can uncover, among other things, evidence that reveals or suggests who possessed or used the

Device (and sometimes by implication who did not), as well as evidence relating to the

commission of the offenses under investigation. For example, in my training and experience,

individuals involved in identity theft or bank fraud frequently communicate with co-conspirators

using electronic devices to discuss strategy, obtain information about identity theft victims, and

relay fraudulent account information.

       18.     The Device is currently in the lawful possession of HSI. It came into the HSI’s

possession after it was seized incident to BATTLE’s arrest on or about July 16, 2024, pursuant to

the aforementioned arrest warrant. When BATTLE was arrested, he was in the same Silver

Chevy that he drove during his Utah-based fraud sprees.

       19.     The Device is currently in storage at 2975 S. Decker Lake Drive, West Valley

City, Utah, 84119. In my training and experience, I know the Device has been stored in a

manner in which its contents are, to the extent material to this investigation, in substantially the

same state as they were when the Device first came into the possession of HSI.

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                                     TECHNICAL TERMS

      20.      Based on my training and experience, I use the following technical terms to

convey the following meanings:

            a. Wireless telephone: A wireless telephone (or mobile telephone, or cellular

               telephone) is a handheld wireless device used for voice and data communication

               through radio signals. These telephones send signals through networks of

               transmitter/receivers, enabling communication with other wireless telephones or

               traditional “land line” telephones. A wireless telephone usually contains a “call

               log,” which records the telephone number, date, and time of calls made to and

               from the phone. In addition to enabling voice communications, wireless

               telephones offer a broad range of capabilities. These capabilities include: storing

               names and phone numbers in electronic “address books;” sending, receiving, and

               storing text messages and e-mail; taking, sending, receiving, and storing still

               photographs and moving video; storing and playing back audio files; storing

               dates, appointments, and other information on personal calendars; and accessing

               and downloading information from the Internet. Wireless telephones may also

               include global positioning system (“GPS”) technology for determining the

               location of the device.

            b. Digital camera: A digital camera is a camera that records pictures as digital

               picture files, rather than by using photographic film. Digital cameras use a

               variety of fixed and removable storage media to store their recorded images.

               Images can usually be retrieved by connecting the camera to a computer or by

               connecting the removable storage medium to a separate reader. Removable

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          storage media include various types of flash memory cards or miniature hard

          drives. Most digital cameras also include a screen for viewing the stored images.

          This storage media can contain any digital data, including data unrelated to

          photographs or videos.

       c. Portable media player: A portable media player (or “MP3 Player” or iPod) is a

          handheld digital storage device designed primarily to store and play audio, video,

          or photographic files. However, a portable media player can also store other

          digital data. Some portable media players can use removable storage media.

          Removable storage media include various types of flash memory cards or

          miniature hard drives. This removable storage media can also store any digital

          data. Depending on the model, a portable media player may have the ability to

          store very large amounts of electronic data and may offer additional features such

          as a calendar, contact list, clock, or games.

       d. GPS: A GPS navigation device uses the Global Positioning System to display its

          current location. It often contains records the locations where it has been. Some

          GPS navigation devices can give a user driving or walking directions to another

          location. These devices can contain records of the addresses or locations involved

          in such navigation. The Global Positioning System (generally abbreviated

          “GPS”) consists of 24 NAVSTAR satellites orbiting the Earth. Each satellite

          contains an extremely accurate clock. Each satellite repeatedly transmits by radio

          a mathematical representation of the current time, combined with a special

          sequence of numbers. These signals are sent by radio, using specifications that

          are publicly available. A GPS antenna on Earth can receive those signals. When

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           a GPS antenna receives signals from at least four satellites, a computer connected

           to that antenna can mathematically calculate the antenna’s latitude, longitude, and

           sometimes altitude with a high level of precision.

        e. PDA: A personal digital assistant, or PDA, is a handheld electronic device used

           for storing data (such as names, addresses, appointments or notes) and utilizing

           computer programs. Some PDAs also function as wireless communication

           devices and are used to access the Internet and send and receive e-mail. PDAs

           usually include a memory card or other removable storage media for storing data

           and a keyboard and/or touch screen for entering data. Removable storage media

           include various types of flash memory cards or miniature hard drives. This

           removable storage media can store any digital data. Most PDAs run computer

           software, giving them many of the same capabilities as personal computers. For

           example, PDA users can work with word-processing documents, spreadsheets,

           and presentations. PDAs may also include global positioning system (“GPS”)

           technology for determining the location of the device.

        f. Tablet: A tablet is a mobile computer, typically larger than a phone yet smaller

           than a notebook, that is primarily operated by touching the screen. Tablets

           function as wireless communication devices and can be used to access the Internet

           through cellular networks, 802.11 “wi-fi” networks, or otherwise. Tablets

           typically contain programs called apps, which, like programs on a personal

           computer, perform different functions and save data associated with those

           functions. Apps can, for example, permit accessing the Web, sending and

           receiving e-mail, and participating in Internet social networks.

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             g. Pager: A pager is a handheld wireless electronic device used to contact an

                individual through an alert, or a numeric or text message sent over a

                telecommunications network. Some pagers enable the user to send, as well as

                receive, text messages.

             h. IP Address: An Internet Protocol address (or simply “IP address”) is a unique

                numeric address used by computers on the Internet. An IP address is a series of

                four numbers, each in the range 0-255, separated by periods (e.g., 121.56.97.178).

                Every computer attached to the Internet computer must be assigned an IP address

                so that Internet traffic sent from and directed to that computer may be directed

                properly from its source to its destination. Most Internet service providers control

                a range of IP addresses. Some computers have static—that is, long-term—IP

                addresses, while other computers have dynamic—that is, frequently changed—IP

                addresses.

             i. Internet: The Internet is a global network of computers and other electronic

                devices that communicate with each other. Due to the structure of the Internet,

                connections between devices on the Internet often cross state and international

                borders, even when the devices communicating with each other are in the same

                state.

       21.      Based on my training, experience, and research, I know that the Device has

capabilities that allow it to serve a wireless telephone, digital camera, portable media player,

GPS navigation device, and PDA. In my training and experience, examining data stored on

devices of this type can uncover, among other things, evidence that reveals or suggests who

possessed or used the device.

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                   ELECTRONIC STORAGE AND FORENSIC ANALYSIS

       22.      Based on my knowledge, training, and experience, I know that electronic devices

can store information for long periods of time. Similarly, things that have been viewed via the

Internet are typically stored for some period of time on the device. This information can

sometimes be recovered with forensics tools.

       23.      Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only electronically stored information that might serve as direct

evidence of the crimes described on the warrant, but also forensic evidence that establishes how

the Device was used, the purpose of its use, who used it, and when. There is probable cause to

believe that this forensic electronic evidence might be on the Device because:

             a. Data on the storage medium can provide evidence of a file that was once on the

                storage medium but has since been deleted or edited, or of a deleted portion of a

                file (such as a paragraph that has been deleted from a word processing file).

             b. Forensic evidence on a device can also indicate who has used or controlled the

                device. This “user attribution” evidence is analogous to the search for “indicia of

                occupancy” while executing a search warrant at a residence.

             c. A person with appropriate familiarity with how an electronic device works may,

                after examining this forensic evidence in its proper context, be able to draw

                conclusions about how electronic devices were used, the purpose of their use, who

                used them, and when.

             d. The process of identifying the exact electronically stored information on a storage

                medium that is necessary to draw an accurate conclusion is a dynamic process.

                Electronic evidence is not always data that can be merely reviewed by a review

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                team and passed along to investigators. Whether data stored on a computer is

                evidence may depend on other information stored on the computer and the

                application of knowledge about how a computer behaves. Therefore, contextual

                information necessary to understand other evidence also falls within the scope of

                the warrant.

             e. Further, in finding evidence of how a device was used, the purpose of its use, who

                used it, and when, sometimes it is necessary to establish that a particular thing is

                not present on a storage medium.

       24.      Nature of examination. Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit the examination of the device consistent

with the warrant. The examination may require authorities to employ techniques, including but

not limited to computer-assisted scans of the entire medium, that might expose many parts of the

device to human inspection in order to determine whether it is evidence described by the warrant.

       25.      Manner of execution. Because this warrant seeks only permission to examine a

device already in law enforcement’s possession, the execution of this warrant does not involve

the physical intrusion onto a premises. Consequently, I submit there is reasonable cause for the

Court to authorize execution of the warrant at any time in the day or night.

                                          CONCLUSION

       26.      I submit that this affidavit supports probable cause for a search warrant

authorizing the examination of the Device described in Attachment A to seek the items described

in Attachment B.

                                                       Respectfully submitted,



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                                              /s/ Christopher Snow
                                              CHRISTOPHER SNOW
                                              Criminal Investigator
                                              Homeland Security Investigations

     Subscribed and sworn to before me
     on July 26, 2024:

     _________________________________________
     UNITED STATES MAGISTRATE JUDGE




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                                      ATTACHMENT A


       The item to be searched is a white iPhone with a clear case, which was seized from

BATTLE on or about July 16, 2024, hereinafter the “Device.” The Device is currently in HSI’s

possession at 2975 S. Decker Lake Drive, West Valley City, Utah, 84119.

       This warrant authorizes the forensic examination of the Device for the purpose of

identifying the electronically stored information described in Attachment B.
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                                        ATTACHMENT B


       1.      All records on the Device described in Attachment A that relate to violations of

18 U.S.C. §§ 1344 (Bank Fraud), 1349 (Conspiracy to Commit Bank Fraud), and 1028A

(Aggravated Identity Theft) and involve BATTLE since January 2024, including without

limitation records pertaining to the following:


            a. identifying information of identity theft victims;
            b. information regarding credit union or bank branch locations as well as dates,
               places, and amounts of specific transactions involving BATTLE;
            c. any information related to identity theft or forgeries;
            d. any information related to sources of forged documents or victims’ identities
               (including names, addresses, phone numbers, or any other identifying
               information), including communications therewith;
            e. any information recording BATTLE’s schedule or travel from January 2024 to the
               present, including correspondence or other information regarding travel, rental
               cars, hotels, and related arrangements; and
            f. all bank records, checks, credit card bills, account information, and other financial
               records;
       2.      Evidence of user attribution showing who used or owned the Device at the time

the things described in this warrant were created, edited, or deleted, such as logs, phonebooks,

saved usernames and passwords, documents, and browsing history;

       3.      Evidence of the attachment to the Device of other storage device or similar

containers for electronic evidence;

       4.      Evidence of the times the Device was used;

       5.      Passwords, encryption keys, and other access Device that may be necessary to

access the Device;

       6.      Records of or information about Internet Protocol addresses used by the Device;

and
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       7.     Records of Internet activity, including firewall logs, caches, browser history and

cookies, “bookmarked” or “favorite” web pages, search terms that the user entered into any

Internet search engine, and records of user-typed web addresses.

       As used above, the terms “records” and “information” include all of the foregoing items

of evidence in whatever form and by whatever means they may have been created or stored,

including any form of computer or electronic storage (such as flash memory or other media that

can store data) and any photographic form.




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